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               In 2011, the defendant pleaded guilty to: (i) possession with intent to distribute
less than 500 grams of cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) and (ii)
conspiracy to possess with intent to distribute more than five kilograms of cocaine, in violation
of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii) and 846. See Judgment, United States v. Hennen, et
al., 09-CR-348 (W.D. Pa. 2009). He was sentenced to two concurrent terms of 30 months’
imprisonment and two concurrent terms of supervised release of three and four years. See id.
Based upon records provided to the government from law enforcement, the government
understands that after the defendant’s release from prison, the court revoked the defendant’s
supervised release due to non-compliance, and resentenced him to 30 days’ imprisonment.

   III.    Legal Standard

                Under the Bail Reform Act, Title 18, United States Code, Section 3141 et seq.,
federal courts are empowered to order a defendant’s detention pending trial upon a determination
that “no condition or combination of conditions would reasonably assure the appearance of the
person as required and the safety of any other person and the community[.]” 18 U.S.C.
§ 3142(e).

                 A finding of risk of flight need only be based on a preponderance of the evidence.
See United States v. Keeton, No. 20-10162, 2020 WL 4805479, at *1 (9th Cir. June 17, 2020);
United States v. Boustani, 932 F.3d 79, 81 (2d Cir. 2019); United States v. Motamedi, 767 F.2d
1403, 1406 (9th Cir. 1985) (“In the trial court and in this court, the Government must establish
risk of flight by a clear preponderance of the evidence, not by the higher standard of clear and
convincing evidence.”). In meeting its burden, the government is “not…bound by the rules of
evidence … and may proceed by proffer.” See United States v. Williams, 654 Fed. Appx. 3, 3
(2d Cir. 2016) (citing Ferranti, 66 F.3d at 542); see also United States v. Young, No. 01-CR-
4011, 2014 WL 6601939, at *2 (N.D. Cal. Nov. 18, 2014) (ordering the defendant detained after
“having considered the proffers by the parties and the probation officer, and the arguments of
counsel”); United States v. Hardeman, No. 3-08-70765, 2008 WL 4891048, at *1 (N.D. Cal.
Nov. 12, 2008) (“Having considered the parties' proffers, and the pretrial services report, I find
that the government has met its burden of showing by a preponderance of the evidence that the
defendant presents a risk of flight.”).

                Whether detention is sought on the basis of flight or dangerousness, the Bail
Reform Act lists four factors to be considered in the detention analysis: (1) the nature and
circumstances of the crimes charged; (2) the history and characteristics of the defendant,
including whether the defendant is currently on probation, parole, or other release; (3) the
seriousness of the danger posed by the defendant’s release; and (4) the evidence of the
defendant’s guilt. See 18 U.S.C. § 3142(g); see also United States v. Jacobson, 502 F. App’x 31,
32 (2d Cir. 2012). Where the evidence of guilt is strong, it provides “a considerable incentive to
flee.” Millan, 4 F.3d at 1046; see also United States v. Palmer-Contreras, 835 F.2d 15, 18 (1st
Cir. 1987) (per curiam) (where “the evidence against defendants is strong, the incentive for
relocation is increased”); United States v. Super, No. 23-CR-05233, 2023 WL 5952715, at *3
(W.D. Wash. Sept. 13, 2023) (in context of pre-trial detention The evidence here is both relevant
and necessary to assess what risk he poses to the community and the risk of flight.”).



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                Where a judicial officer concludes after a hearing that “no condition or
combination of conditions will reasonably assure the appearance of the person as required and
the safety of any other person and the community, such judicial officer shall order the detention
of the person before trial.” 18 U.S.C. § 3142(e)(1).

   IV.     The Defendant Should Be Detained Pending Trial

                As described below, the government has met its burden of establishing the
defendant’s risk of flight sufficient to require his detention pending trial. In particular, courts
consistently hold that where, like here, a defendant has the means and motive to disappear and
escape answering for his crimes, detention pending trial is warranted. See, e.g., United States v.
Williams, 654 F. App’x 3, 4 (2d Cir. 2016) (affirming order of detention based on defendant’s
ability “to evade oversight and detection from government agents”).

                First, that the defendant, in fact, attempted to flee the country just days before the
January 15 Deadline demonstrates that there is a serious and substantial risk that the defendant
will not return to court. See, e.g., United States v. Muhtorov, 702 F. App’x 694, 696 (10th Cir.
2017) (pretrial detention was appropriate where the defendant was “arrested at the . . . airport en
route to Istanbul, Turkey. He had purchased a one-way ticket”); United States v. Molina, No.
11-CR-528, 2012 WL 3564013, at *2 (S.D.N.Y. Aug. 16, 2012) (defendant was detained
pending trial where, among other things, he was found in possession of multiple cell phones
and a large sum of cash).

                Second, the defendant’s motive to flee is obvious—the proof of his guilt is
overwhelming, and, particularly given his substantial criminal history, he may ultimately face up
to two decades in prison upon conviction. Among other evidence, witnesses, phone records,
financial records and betting records confirm that the defendant orchestrated and participated in
numerous fraudulent wager schemes, which, among other things, resulted in potentially millions
of dollars’ worth of illicit profits and money laundering transactions. As a result of this evidence
of the defendant’s guilt, the defendant has considerable incentive to flee—counseling strongly
against his release under any conditions. See Millan, 4 F.3d at 1046; Palmer-Contreras, 835 F.2d
at 18; Super, 2023 WL 5952715, at *3.

               Third, the defendant’s extraordinary financial resources and access to a network
of co-conspirators across the country continue to provide him with a means to flee and to do so
undetected, independently warranting detention. See, e.g., United States v. Maxwell, 510 F.
Supp. 3d 165, 174 (S.D.N.Y. 2020) (detention was appropriate where “the Defendant’s
extraordinary financial resources ,. . . continue to provide her the means to flee the country and
to do so undetected”); United States v. Hoover, No. CR-14-554, 2014 WL 2094201, at *5 (D.
Ariz. May 20, 2014) (detention was appropriate where the defendant had the “financial means
and travel expertise to effectuate a ‘strong incentive to flee’”). The government has developed
substantial evidence that the defendant has conducted or caused to be conducted illicit financial
transactions and fraudulent sports wagers totaling millions of dollars, including through a
network of proxies and straw bettors located across the country, such as his co-conspirators




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described in the Complaint. The government has no reason doubt that the defendant will
leverage these same co-conspirators to assist him with fleeing from prosecution.

               Finally, the defendant’s personal history illustrates that his substantial risk of
flight cannot be mitigated by stringent bail requirements. His criminal history is substantial,
longstanding, and varied, and demonstrates an inability to comply with the law or court rules.
As just one example, a federal judge in Pennsylvania found it necessary to revoke his supervised
release following a term of imprisonment for a serious drug offense.

                Put simply, because there is a serious and substantial risk that the defendant will
not return to court, he must be detained pending trial.

      V.      Conclusion

              For all the foregoing reasons, the government respectfully submits that the
defendant should be detained.

                                                      Respectfully submitted,

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